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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------X
KATHARINA ROELCKE,

                          Plaintiff,
                                                    15 Civ. 6284 (DAB)
                                                    MEMORANDUM & ORDER
           v.

ZIP AVIATION, LCC, et al.,

                        Defendants.
--------------------------------------------X
DEBORAH A. BATTS, United States District Judge.

     Plaintiff Katharina Roelcke filed suit against Zip

Aviation, LLC (“Zip”), Manhattan Helicopters LLC (“Manhattan

Helicopters”), and Itai Shoshani for discrimination on the basis

of sex discrimination under the New York State Human Rights Law

(“NYSHRL”) (Count 1) and New York City Human Rights Law

(“NYCHRL”) (Count 4), retaliation under NYSHRL (Count 3) and

NYCHRL (5), interference with protected rights under NYCHRL

(Count 7), employer liability for discriminatory conduct under

NYCHRL (Count 8), breach of contract (Count 10), quantum meruit

(Count 11), unjust enrichment (Count 12), promissory estoppel

(Count 13), intentional infliction of emotional distress (Count

14), violation of the Fair Labor Standards Act (“FLSA”) (Count

17) and the New York Wage and Hour Law (Count 18), and fraud and

misrepresentation (Count 19). She also brings claims against

Shosani individually for aiding and abetting sex discrimination
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under both the NYSHRL (Count 2) and NYCHRL (Count 6), assault

and battery (Count 9), sexual abuse and/or rape (Count 15), and

violation of the Gender Motivated Violence Protection Act (Count

16). The suit arises from intertwining and allegedly abusive

employment and personal relationships between Plaintiff and

Shoshani, the owner of both Zip and Manhattan Helicopters.

     Plaintiff amended her Complaint twice, and Defendants moved

to dismiss the now-operative Second Amended Complaint (“SAC”) on

February 1, 2016. Plaintiff opposed. For the following reasons,

Defendants’ Motion to Dismiss is GRANTED in part and DENIED in

part.


I.   BACKGROUND

     Zip Aviation, LLC and Manhattan Helicopters LLC are New

York-based helicopter tour and charter companies. (SAC ¶¶ 8,

12.) The two companies are interconnected. (Id. ¶ 198.) Shoshani

is the president and owner of Zip (id. ¶ 9) and the chief

operating officer, chief pilot, and owner of Manhattan

Helicopters. (Id. ¶¶ 12-13.)

     Plaintiff began working as the vice president of operations

for Zip in October 2007 with a salary of $150,000. (Id. ¶¶ 21-

22, 31-32.) Plaintiff is a Canadian citizen and was in the

United States on a work visa. (Id. ¶ 23.) Defendants allegedly

offered to assist her with her citizenship status at the time


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Plaintiff accepted their offer of employment. (Id. ¶¶ 23, 34-

35.)

       Following a December 2007 dinner with Shoshani and a

client, Shoshani allegedly began to make sexual advances toward

Plaintiff. (Id. ¶¶ 40-41.) Plaintiff felt compelled to play

along with the advances, fearing she would lose her job and that

she would not be able to obtain citizenship. (Id. ¶ 41.)

Shoshani then allegedly overpowered her and forced her to have

sex with him. (Id.) Thereafter, Shoshani began to regularly

pressure Plaintiff to have sex with him as part of her job. (Id.

¶¶ 42-44, 48.) As of December 2007, Plaintiff had not been paid

but continued working for Zip believing that she would be

compensated in the future. (Id. ¶¶ 45-46, 49, 53, 59, 65.)

       In January 2008, Plaintiff moved into a corporate apartment

in White Plains. (Id. ¶ 54.) Meanwhile, Zip was still not paying

Plaintiff, and she struggled to pay her bills and to buy food

and personal hygiene products. (Id. ¶ 60.) As Plaintiff

struggled financially, Shoshani allegedly began to use his own

wealth as a means to control her, forcing her to beg him for

money. (Id. ¶¶ 61-64.) He would periodically wire money to

Plaintiff. (Id. ¶ 64.)

       In the spring of 2008, Shoshani put Plaintiff in contact

with his lawyer to help her resolve her immigration issues. (Id.

¶ 67.) Plaintiff gave Shoshani all of her documentation, the

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majority of which were originals, but Shoshani never gave

anything to the lawyer. (Id. ¶¶ 68-69.) At the same time,

Shoshani began to say, “All you need is to be fucked” to

Plaintiff frequently and continued to force sex upon her on a

regular basis. (Id. ¶ 73.)

     In June 2008, Shoshani purchased a company car for

Plaintiff. (Id. ¶ 73.) Plaintiff thought this was a signal that

Zip and Shoshani would eventually pay her in accordance with

their agreement. (Id. ¶ 74.) Plaintiff was carrying out various

administrative tasks for Zip and building its promotional

efforts at the same time, and the business began to grow. (Id.

¶¶ 76-78, 80-81.) As a result of an increase in calls to the

business, Shoshani purchased iPhones for Plaintiff and several

other Zip employees. (Id. ¶ 79.)

     In August 2008, Plaintiff allegedly attempted to discuss an

unnamed issued regarding Zip with Shoshani. (Id. ¶ 85) He

responded by telling her, “If you ever go against my wishes

again and send out another empty helicopter, I will fuck you

up.” (Id. ¶ 85.) He apologized for his outburst later that

night. (Id. ¶ 86.) Later, around February 2009, Shoshani decided

he wanted “harsh, kinky sex.” (Id. ¶¶ 93-94.) Although she

attempted to refuse, he forced sex upon Plaintiff. (Id. ¶ 94.)

In March 2009, after Shoshani’s wife allegedly found out he was



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having an affair with Plaintiff, he moved into the corporate

apartment with her. (Id. ¶¶ 95-98.)

     Shoshani would give Plaintiff cash to purchase supplies for

Zip and let her use what was left over for personal use if

Plaintiff gave him receipts. (Id. ¶ 101.) Most times, there was

not enough money left for Plaintiff to pay her bills or eat.

(Id. ¶ 102.) Shoshani continued to force her to have sex. (Id.)

At the same time, Plaintiff still had not received a paycheck

even though she was allegedly working twelve hours a day, seven

days a week. (Id. ¶ 107.)

     Around August 2009, Plaintiff allegedly complained to

Shoshani that he treated her like a “slave” and a “whore” and

that she planned to leave because of his continuous sexual

harassment. (Id. ¶ 108.) Shoshani allegedly begged her to stay

and also became increasingly sexually forceful, including

forcing anal sex upon Plaintiff. (Id. ¶¶ 109-11.) He also began

to publicly humiliate her at work, insulting her, causing her to

cry, calling her “the rude nasty bitch,” and telling other

employees that she was worthless. (Id. ¶ 114.) Plaintiff began

to have panic attacks and contemplating suicide, and her health

deteriorated. (Id. ¶ 113, 116.) Plaintiff also allegedly told

another employee that she was not getting paid and that Shoshani

was physically and emotionally abusing her. (Id. ¶ 117.) After

the employee told Shoshani, Shoshani allegedly became enraged,

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threatened to fire Plaintiff, and began telling her things like

“You are insane” and “Seek help.” (Id. ¶¶ 118-19.)

     In December 2009, Plaintiff went to Canada for the holidays

and told Shoshani that she would not be returning because she

could see that she would never be paid fairly for her work. (Id.

¶ 120.) Shoshani allegedly cried to her, demanded she return,

and told her that he would “love, honor, respect, cherish,

adore, support, [and] satisfy [her] forever.” (Id. ¶ 121.)

Plaintiff allegedly felt that she had no choice other than to

return. (Id. ¶ 122.)

     After Plaintiff returned, Shoshani continued to force anal

sex upon her. (Id. ¶ 124.) He would leave visible bruises on her

after sex and made her aware that he always carried a gun. (Id.

¶¶ 125-27.) At one point, Shoshani refused her toothpaste and

deodorant. (Id. ¶ 129.) Around April 2010, Shoshani allegedly

began to track Plaintiff using a “Friends and Family” feature on

his phone. (Id. ¶ 131.) He also placed a GPS tracking device in

the company car to monitor Plaintiff’s location. (Id. ¶ 132.) In

July 2010, Shoshani came to the apartment belligerently drunk,

but Plaintiff would not let him in, called the police, and told

them that Shoshani was abusive and kept guns inside the

apartment. (Id. ¶ 133.)

     Seeking to escape Shoshani’s behavior, Plaintiff flew to

Miami in August 2010 and did not tell anyone she had gone. (Id.

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¶¶ 134-35.) Shoshani flew to Miami, promised her that he would

resolve her immigration issue and that he would pay her, and

threatened her by saying, “You know what I’m capable of.” (Id.

¶¶ 135, 137-38.)

     In September 2010, Plaintiff had serious abdominal pain and

uncontrollable vaginal bleeding as a result of hemorrhaging from

an ectopic pregnancy. (Id. ¶ 140.) She attempted to run away to

a hotel in November 2010, but Shoshani tracked her to the hotel

and appeared there. (Id. ¶ 142.)

     Shoshani’s abuse allegedly continued throughout 2011. (Id.

¶¶ 143-46.) For example, in July 2011, he allegedly told her,

“You are a whore,” spit in her face, grabbed her by the throat,

and said, “I could throw you out that fucking window and no one

would care.” (Id. ¶ 147.) As she attempted to fight back,

Shoshani allegedly kept saying, “C’mon. Harder. You’re turning

me on you little bitch.” (Id.) He also mocked punching himself

in the face and told her, “That’s how you do it you worthless

bitch,” before dragging her to the door, throwing her into the

hallway, and locking the door behind her. (Id.) Although someone

called the police, Shoshani threatened Plaintiff that he was

well-connected with the police department. (Id. ¶¶ 148-53.) The

same night, Plaintiff checked into a hotel, and Shoshani showed

up within an hour. (Id. ¶ 154.) After Plaintiff told him to

leave her alone and to never trace her location again, Shoshani

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allegedly responded, “You know better than to provoke me.” (Id.

¶¶ 155-56.)

     In August 2011, after Plaintiff returned from a trip,

Plaintiff found Shoshani waiting for her at her hotel. (Id. ¶¶

157-60.) Shoshani then booked the hotel room next to hers and

told her he had been waiting there to see her for two days. (Id.

¶ 161.) He grabbed her arm, told her he wanted to talk in his

room, and then proceeded to force sex upon her, saying, “You

feel like home.” (Id. ¶ 162.) In November 2011, Shoshani again

tracked her to a hotel in Greenwich, Connecticut, and ripped the

license plates off her car. (Id. ¶ 165.) The next day, he texted

Plaintiff, “I can read your texts now and it will cost others

dearly.” (Id. ¶ 166.) Despite this, Plaintiff returned to New

York and continued to work for Zip. (Id. ¶ 167.)

     In February 2012, Plaintiff received a package at the

apartment in White Plains that contained Viagra for Shoshani,

and she attempted to hide the Viagra from him. (Id. ¶ 168.) When

Shoshani learned she mistakenly opened his package, he dragged

Plaintiff out of the shower by her hair, choked her until she

told him where the Viagra was, and then pushed her back into the

shower, bruising her side and spine. (Id. ¶ 169.)

     Plaintiff attempted to drive away in the company car,

making it to Colorado. (Id. ¶¶ 170-71.) Shoshani reported the

car stolen and threatened to distribute naked pictures of

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Plaintiff if she did not return. (Id. ¶ 172.) He also allegedly

called U.S. Customs and Border Protection to report that

Plaintiff was working in the country illegally. (Id. ¶ 173.)

Plaintiff fled to Europe in September 2012, making it impossible

for Shoshani to continue to track her iPhone. (Id. ¶¶ 174-75.)

In response, he sent her three emails with sexually explicit

photos and a video of her. (Id. ¶ 175.) He told her, “We need to

talk or this is gonna get [fucking ugly],” and that the sexually

explicit images would be sent out to her family, business

contacts, and her children’s school if she did not return. (Id.

¶ 176.) Plaintiff returned to New York in November 2012. (Id. ¶

178.) Shoshani allegedly continued to sexually assault her

regularly, wrap his hands around her throat, and whisper in her

ear that he loved raping her. (Id. ¶ 179.)

     Also in November 2012, at a restaurant in Tarrytown, New

York, with several other Zip employees, after Plaintiff told

Shoshani to stop making fun of another couple there for being

overweight, he dragged her out of the restaurant by her arm and

into the street, causing her to break her foot. (Id. ¶ 181.)

Shoshani allegedly then threw her into the car. (Id.) Plaintiff

begged him to pull over and stopped the car and then grabbed the

wheel and forced him to pull over. (Id.) Shoshani reached for

the OnStar emergency button and threatened to call the police.

(Id. ¶ 182.) Because Plaintiff was still having problems with

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her immigration status, she did not want him to call the police.

(Id.) Shoshani then pushed her out of the car. (Id.) Thereafter,

Plaintiff fled to Canada. (Id. ¶ 184.)

     Shoshani begged Plaintiff to return to New York in March

2013, promising he would secure her a new visa. (Id. ¶¶ 185-86.)

In May 2013, he sent her a written agreement to work as an

Aviation Engineering Consultant for Manhattan Helicopters, which

Plaintiff and Defendants agreed to both verbally and in writing.

(Id. ¶¶ 187-88.) The agreement contained a year term and a daily

rate of $650. (Id. ¶ 189.) Under the agreement, Defendants were

to assist Plaintiff in getting a visa, and Shoshani sent

Plaintiff a signed copy of a letter addressed to Customs and

Border Protection related to her application; however, Shoshani

never filed the paper work, and Plaintiff never got the visa.

(Id. ¶¶ 193-94.) Plaintiff also continued her employment with

Zip at this time. (Id. ¶¶ 195-97.)

     Shoshani allegedly continued to abuse Plaintiff. In October

2013, he got into an argument with her and punched her in the

face, breaking her nose. (Id. ¶ 202.) In December 2013, he

allegedly came to the apartment drunk, pushed her head into the

bed, and forced sex upon her, stating, “All you need is to be

fucked.” (Id. ¶ 203.)

     In January 2014, Plaintiff went to Hawaii with the

assistance of a pilot friend there. (Id. ¶¶ 204-05.) As soon as

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she landed, she received an email from Shoshani simply saying,

“Hawaii.” (Id.) He also told her, “You know what I can do to

[your pilot friend].” (Id. ¶ 206.) Although Plaintiff planned to

flee to Australia, Shoshani threatened her and her family,

causing Plaintiff to return to New York and to working for Zip

and Manhattan Helicopters. (Id. ¶¶ 204, 207-09.)

     In March 2014, Plaintiff found the GPS device in the

company car. (Id. ¶ 210.) That June, when Shoshani and Plaintiff

met with suppliers and customers, Shoshani would pinch the back

of her arm, pretend to put his arm around her while crushing her

ribs, kick her underneath the table, and hold her hands,

twisting her fingers backwards, all to keep her from talking and

resulting in bruises and contusions. (Id. ¶¶ 211-12.) In July

2014, while Shoshani was in France, Plaintiff began driving with

her daughter to Florida, prompting Shoshani to text her saying

that she could stay at his yacht club property in Florida. (Id.

¶ 213.) Shoshani then texted her in August, “People tell me

you’re talking shit about me... you know how I’ll play it and

retaliate against you.” (Id. ¶ 214.)

     Plaintiff again returned to New York in September and

ultimately sought help from a women’s shelter in October 2014.

(Id. ¶¶ 216-20.) Meanwhile, Shoshani would frequently wear his

gun in the apartment and continued to sexually assault her

regularly. (Id. ¶¶ 221-23.) In December 2014, Plaintiff called

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the police, started the process of obtaining an order of

protection against Shoshani, and told him she would no longer

speak to him. (Id. ¶¶ 224-25.) She also terminated her

employment with Zip and Manhattan Helicopters in December 2014.

(Id. ¶¶ 244-45.)

      Shoshani, however, allegedly asked a mutual friend to keep

him apprised of her whereabouts. (Id. ¶ 231.) In February 2015,

while Plaintiff was at a restaurant in Greenwich, Shoshani

arrived there, sat directly behind her, and lifted his coat to

show her he was carrying a gun. (Id. ¶¶ 231-33.) Several days

later, Plaintiff was granted an order of protection against him.

(Id. ¶ 234.) In June 2015, he allegedly intentionally violated

that order by hacking into her phone and following her to a

police records office. (Id. ¶¶ 235-38.)


II.   Discussion

      A. Legal Standard for Rule 12(b)(6) Motion to Dismiss

      For a complaint to survive a motion brought pursuant to

Federal Rule of Civil Procedure 12(b)(6), the plaintiff must

have pleaded “enough facts to state a claim to relief that is

plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007). The Supreme Court explained,

      A claim has facial plausibility when the plaintiff
      pleads factual content that allows the court to draw
      the reasonable inference that the defendant is liable
      for the misconduct alleged. The plausibility standard

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     is not akin to a “probability requirement,” but it
     asks for more than a sheer possibility that a
     defendant has acted unlawfully. Where a complaint
     pleads facts that are “merely consistent with” a
     defendant's liability, it “stops short of the line
     between possibility and plausibility of entitlement to
     relief.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly,

550 U.S. at 556–57). “[A] plaintiff's obligation to provide the

grounds of his entitlement to relief requires more than labels

and conclusions, and a formulaic recitation of the elements of a

cause of action will not do.” Twombly, 550 U.S. at 555 (internal

quotation marks and citation omitted). “Nor does a complaint

suffice if it tenders ‘naked assertion[s]’ devoid of ‘further

factual enhancement.’” Iqbal, 556 U.S. at 678 (quoting Twombly,

550 U.S. at 557). The Supreme Court further stated,

     In keeping with these principles a court considering a
     motion to dismiss can choose to begin by identifying
     pleadings that, because they are no more than
     conclusions, are not entitled to the assumption of
     truth.   While  legal   conclusions  can  provide  the
     framework of a complaint, they must be supported by
     factual allegations. When there are well-pleaded
     factual allegations, a court should assume their
     veracity and then determine whether they plausibly
     give rise to an entitlement to relief.

Id. at 679.

     In considering a Rule 12(b)(6) motion, the Court must

accept as true all factual allegations set forth in the

complaint and draw all reasonable inferences in favor of the

plaintiff. See Swierkiewicz v. Sorema N.A., 534 U.S. 506, 508


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n.1 (2002); Blue Tree Hotels Inv. (Canada) Ltd. v. Starwood

Hotels & Resorts Worldwide, Inc., 369 F.3d 212, 217 (2d Cir.

2004). However, this principle is “inapplicable to legal

conclusions,” Iqbal, 556 U.S. at 678, which, like the

complaint’s “labels and conclusions,” Twombly, 550 U.S. at 555,

are disregarded. Nor should a court “accept [as] true a legal

conclusion couched as a factual allegation.” Id. In resolving a

12(b)(6) motion, a district court may consider the facts alleged

in the complaint, documents attached to the complaint as

exhibits, and documents incorporated by reference in the

complaint. DiFolco v. MSNBC Cable L.L.C., 622 F.3d 104, 111 (2d

Cir. 2010).


       B. Sex Discrimination

     Defendants move to dismiss Counts 1, 4, and 8 on the

grounds that they fail to state a claim under NYSHRL and NYCHRL.


                  a. New York State Human Rights Law – Count 1

     Defendants argue that Plaintiff has not linked the alleged

adverse actions to her gender. (Defs.’ Mem. Law Supp. Mot.

Dismiss (“Defs.’ MTD”) at 8.) It is not entirely clear to the

Court what theory of discrimination Plaintiff seeks to pursue.

In her Memorandum of Law, Plaintiff cites case law related to

disparate treatment and asserts, without citing to the Second




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Amended Complaint. (Pl.’s Mem. Law Opp. Mot. Dismiss (Pl.’s

Opp.”) at 4.)

     In making out a prima facie case of employment

discrimination under NYSHRL, the plaintiff must show: “(1) that

she is a member of a protected class, (2) that she was qualified

for [employment in the position], (3) that she suffered an

adverse employment action, and (4) can sustain a minimal burden

of showing facts suggesting an inference of discriminatory

motivation . . . .” Littlejohn v. City of New York, 795 F.3d

297, 311 (2d Cir. 2015). 1 A plaintiff need not make out a prima

facie case at the motion to dismiss stage, but she must give

“plausible support” for the requirements, including to “a

minimal inference of discriminatory motivation.” Id.

     It appears that the adverse employment action Plaintiff

seeks to link to her gender is her alleged constructive

discharge. While constructive discharge may be implicated in

some disparate treatment claims, it is ordinarily addressed in

the context of hostile work environment claims. See Pa. State

Police v. Suders, 542 U.S. 129, 142 (2004). That theory is more

applicable in this case. Plaintiff also discusses a hostile work




1 The Second Circuit has noted that while the protections of
NYSHRL are coextensive with those of Title VII, the protections
of NYCHRL are broader. See Mihalik v. Credit Agricole Cheuvreux
N. Am., Inc., 715 F.3d 102, 108-09 (2d Cir. 2013).
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environment theory (Pl.’s Opp. at 5) and a quid pro quo theory.

(SAC ¶ 242.)

      Hostile work environments that are “sufficiently severe or

pervasive to alter the conditions of the victim’s employment”

are actionable under the NYSHRL. See Meritor Sav. Bank, FSB v.

Vinson, 477 U.S. 57, 67 (1986) (alterations, citations, and

quotations omitted); see also Pucino v. Verizon Wireless

Commc’ns, Inc., 618 F.3d 112, 117 n.2 (2d Cir. 2010) (applying

same standard to NYSHRL hostile work environment claim as to

Title VII hostile work environment claim). The conduct must be

both objectively hostile, in that a reasonable person would find

the environment to be abusive, and subjectively hostile, in that

the plaintiff actually perceived it to be abusive. Harris v.

Forklift Sys., Inc., 510 U.S. 17, 21-22 (1993); see also Patane

v. Clark, 508 F.3d 106, 113 (2d Cir. 2007) (“To state a claim

for a hostile work environment in violation of Title VII, a

plaintiff must plead facts that would tend to show that the

complained of conduct: (1) ‘is objectively severe or pervasive—

that is, creates an environment that a reasonable person would

find hostile or abusive’; (2) creates an environment ‘that the

plaintiff subjectively perceives as hostile or abusive’; and (3)

‘creates such an environment because of the plaintiff’s sex.’”)

(alterations omitted) (quoting Gregory v. Daly, 243 F.3d 687,

691–92 (2d Cir. 2001)).

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     To determine whether a work environment is hostile, a court

must look to the surrounding circumstances including:

     the frequency of the discriminatory conduct; its
     severity; whether it is physically threatening or
     humiliating, or a mere offensive utterance; and
     whether it unreasonably interferes with an employee’s
     work   performance.  The   effect  on  the employee’s
     psychological well-being is, of course, relevant to
     determining whether the plaintiff actually found the
     environment abusive. But while psychological harm,
     like any other relevant factor, may be taken into
     account, no single factor is required.

Harris, 510 U.S. at 23.

     To survive a Rule 12(b)(6) motion to dismiss, a hostile

work environment plaintiff “need only plead facts sufficient to

support the conclusion that she was faced with ‘harassment . . .

of such quality or quantity that a reasonable employee would

find the conditions of her employment altered for the worse.’”

Patane, 508 F.3d at 113 (alteration in original) (quoting Terry

v. Ashcroft, 336 F.3d 128, 148 (2d Cir. 2003)).

     Hostile work environment claims can be both closely related

but distinguishable from quid pro quo claims. See Burlington

Indus., Inc. v. Ellerth, 524 U.S. 742, 752 (1998) (discussing

Meritor Sav. Bank, FSB v. Vinson, 477 U.S. 57, 65-72 (1986)).

Hostile work environments involve harassment that is severe and

pervasive, while quid pro quo claims involve “explicit or

constructive alterations in the terms or conditions of

employment.” Id. The two types of claims may intersect when the


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conduct related to alterations or conditions of employment

becomes severe and pervasive. Id.; see also Carrero v. N.Y.C.

Hous. Auth., 890 F.2d 569, 579 (2d Cir. 1989) (“Hostile

environment and quid pro quo harassment causes of action are not

always clearly distinct and separate. The discrimination which

gives rise to them is not neatly compartmentalized but, as this

case demonstrates, the two types of claims may be complementary

to one another.”).

     To make out a prima facie case of quid pro quo sexual

harassment, “a plaintiff must present evidence (1) that he was

subject to unwelcome sexual conduct, and (2) that his reaction

to that conduct was then used as the basis for decisions

affecting compensation, terms, conditions, or privileges of

employment.” Figueroa v. Johnson, 648 F. App’x 130, 135 (2d Cir.

2016). “The relevant inquiry in a quid pro quo case is whether

the supervisor has linked tangible job benefits to the

acceptance or rejection of sexual advances.” Karibian v.

Columbia Univ., 14 F.3d 773, 778 (2d Cir. 1994).

     Under either a quid pro quo or hostile work environment

theory, Plaintiff’s sex discrimination claim under NYSHRL

survives the Motion to Dismiss. She has alleged severe sexual

harassment, including sexual assault, by her boss, Shoshani, and

that she believed she would be terminated if she did not

acquiesce to his demands. (E.g., SAC ¶¶ 41-44.) The alleged

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behavior continued throughout the course of Plaintiff’s

employment. (E.g., id. ¶ 203.)

     Defendants argue that none of the allegedly harassing

behavior Plaintiff suffered happened in the workplace. (Defs.’

Reply Mem. Law Supp. Mot. Dismiss at 2.) Based on the facts in

the Second Amended Complaint, however, there were no clear lines

between the workplace and outside of the workplace for Plaintiff

and Shoshani. See Andersen v. Rochester City Sch. Dist., 481 F.

App’x 628, 630 (2d Cir. 2012) (dismissing hostile work

environment claim where teacher was harassed by a student at

school where she taught but noting that claim could be sustained

in situations where there is a closer connection between the

harassment and the workplace). Further, to bar quid pro quo

claims involving conduct that took place outside the workplace

would be to take all teeth out of that cause of action by

allowing predatory supervisors to make sexual advances outside

of the workplace while still holding victims’ jobs hostage.

     Defendants’ Motion to Dismiss with respect to Count 1, sex

discrimination under NYSHRL, is thus DENIED.


                  b. New York City Human Rights Law – Counts 4
                     and 8

     NYCHRL is “broader and more remedial” than NYSHRL or Title

VII. Williams v. N.Y.C. Hous. Auth., 872 N.Y.S.2d 27, 38 (N.Y.

App. Div. 1st Dep’t 2009). Accordingly, because the Court has

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denied Defendants’ Motion to Dismiss with respect to Count 1,

their Motion is also DENIED with respect to Count 4, sex

discrimination under the NYCHRL.

     Pursuant to NYCHRL § 8-107(13), an employer can be held

liable for the discriminatory acts of its employees when the

employee “exercised managerial or supervisory responsibility”

N.Y.C. Admin. Code § 8-107(13)(b). Defendants do not appear to

move to dismiss Count 8 separately from contesting the

underlying discrimination charge. (See Defs.’ MTD at 10 n.4.)

Accordingly, Count 8 also survives Defendants’ Motion to

Dismiss.


       C. Retaliation

              1.     New York State Human Rights Law – Count 3

     To make out a prima facie case for retaliation in an

employment discrimination case under NYSHRL, “a plaintiff must

present evidence that shows ‘(1) participation in a protected

activity; (2) that the defendant knew of the protected activity;

(3) an adverse employment action; and (4) a causal connection

between the protected activity and the adverse employment

action.’” Littlejohn v. City of New York, 795 F.3d 297, 316 (2d

Cir. 2015) (quoting Hicks v. Baines, 593 F.3d 159, 164 (2d Cir.

2010)); Malena v. Victoria’s Secret Direct, LLC, 886 F. Supp. 2d




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349, 361 (S.D.N.Y. 2012) (same standard applies to NYSHRL

retaliation claims as applies to federal claims).

       Defendants argue that Plaintiff has not alleged that she

engaged in protected activity. (Defs’. MTD at 10-12.) Under the

NYSHRL, protected activity “is conduct that ‘oppos[es] or

complain[s] about unlawful discrimination.’” Mi-Kyung Cho v.

Young Bin Cafe, 42 F. Supp. 3d 495, 507 (S.D.N.Y. 2013)

(alterations in original) (quoting Forrest v. Jewish Guild for

the Blind, 3 N.Y.3d 295, 312–13 (N.Y. 2004)).

       In the Second Amended Complaint, Plaintiff alleges that she

complained to Shoshani that he treated her like a “slave” and a

“whore” and that she would be leaving and not returning because

of his continuous sexual harassment and discriminatory

treatment. (SAC ¶ 108.) She also alleges that, in response to

her complaints, Shoshani began to force anal sex on her (id. ¶

111) and that he would publicly humiliate her at work 2 by telling

her she was worthless and calling her “the rude nasty bitch.”

(Id. ¶ 114.) 3

       Based on these allegations, Plaintiff engaged in protected

activity by complaining about harassment to her supervisor,

2   At this point, Plaintiff was allegedly employed by Zip.
3 Courts in the Second Circuit have recognized retaliatory
harassment as an adverse employment action, depending on its
severity and causation. See Gregory v. Daly, 243 F.3d 687, 701
(2d Cir. 2001); Rueda v. City of New York, No. 11-CV-5248 (VSB),
2017 WL 4221081, at *11 (S.D.N.Y. Sept. 21, 2017).
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Shoshani. Her allegations are somewhat threadbare. She does not

explicitly state when she made the complaint, although the

context of the Second Amended Complaint suggests that it took

place between August and October of 2009. (Cf. SAC ¶ 104-17

(reciting series of events seemingly in chronological order).)

Further, she does not allege when Shoshani’s allegedly

retaliatory actions took place. (See id. ¶¶ 111, 114.) Again,

based on the narrative set forth in the Second Amended

Complaint, they likely took place between August and October of

2009.

     These events, however, fall outside of the three-year

statute of limitations of the NYSHRL. See C.P.L.R. § 214(2);

Esposito v. Deutsche Bank AG, No. 07 CIV. 6722(RJS), 2008 WL

5233590, at *4 (S.D.N.Y. Dec. 16, 2008). Accordingly, the Court

DISMISSES the NYSHRL retaliation claim (Count 3).


                 2.     New York City Human Rights Law – Count 5

     The NYCHRL also has a three-year statute of limitations.

See Esposito, 2008 WL 5233590, at *4. Accordingly, Count 5 is

DISMISSED because the relevant conduct occurred more than three

years before Plaintiff filed suit.




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       D. Aiding and Abetting Sex Discrimination by Shoshani –
          Counts 2 and 6

     Defendants seek to dismiss Plaintiff’s claims for aiding

and abetting sex discrimination under the NYSHRL (Count 2) and

the NYCHRL (Count 6) on the grounds that an individual cannot

aid and abet his own alleged discriminatory conduct. (Defs.’ MTD

at 12.) Under NYSHRL, individuals can be held liable if they act

as employers, N.Y. Exec. Law § 296(1), or if they “aid, abet,

incite, compel or coerce” discriminatory acts by employers. N.Y.

Exec. Law. § 296(6). The NYCHRL makes it is unlawful for “an

employer or an employee or agent thereof” to engage in

discriminatory employment practices and for an individual to

“aid, abet, incite, compel or coerce” discriminatory acts under

that statute. N.Y.C. Admin. Code §§ 8-107(1)(a), 8-107(6).The

two aiding and abetting laws are subject to the same standards.

See Malena, 886 F. Supp. 2d at 367.

     An individual is an “employer” within the meaning of the

NYSHRL if that individual has an “ownership interest or any

power to do more than carry out personnel decisions made by

others.” Patrowich v. Chem. Bank, 63 N.Y.2d 541, 542 (N.Y.

1984). The NYCHRL provides a broader basis for individual

liability than NYSHRL. See Malena, 886 F. Supp. 2d at 366.

Defendants do not appear to dispute that Shoshani acted as her




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employer and thus did not move to dismiss Counts 1, 4, and 8 on

that basis.

     In this case, Plaintiff has alleged that, within the

meaning of the NYSHRL and NYCHRL, Shoshani acted as her

employer. (See, e.g., SAC ¶¶ 9, 13-14.) He can thus be held

directly liable. Accordingly, the Court DISMISSES Counts 2 and 6

for aiding and abetting discrimination under the NYSHRL and the

NYCHRL.


          E. Interference with Protected Rights under NYCRHRL § 8-
             107(19) – Count 7

     Under the N.Y.C. Admin. Code § 107(19), it is unlawful “to

coerce, intimidate, threaten or interfere with . . . any person

in the exercise or enjoyment of . . . any right granted or

protected” under the NYCHRL. “Threats are required to state a

claim for violation of Admin Code § 8–107(19).” Sletten v.

LiquidHub, Inc., No. 13 CIV. 1146 (NRB), 2014 WL 3388866, at *5

(S.D.N.Y. July 11, 2014) (quoting Poolt v. Brooks, 967 N.Y.S.2d

869 (N.Y. Sup. Ct. 2013)). In response to Defendants’ Motion to

Dismiss Count 7, Plaintiff cites to her SAC saying that

“Shoshani also made Plaintiff aware that he carried a gun all

day, every day.” (SAC ¶ 127.) Plaintiff does not allege how he

made her aware of this or when he made her aware. Further, she

does nothing that creates an inference that this vague threat

was related to her exercise of a protected right under the

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NYCHRL. Plaintiff allegedly complained to Shoshani in December

2009 that she would not return to New York because she would

never be paid fairly for her work. (SAC ¶ 120.) This is not a

protected complaint under the NYCHRL as it does not relate to a

protected class. Shoshani also allegedly threatened to fire her

after another employee told him that she said Shoshani was

abusing her. (SAC ¶¶ 117-19.) These allegations involve conduct

occurring in 2009, however, and thus are time barred based on

the NYCHRL’s three-year statute of limitations. See Esposito,

2008 WL 5233590, at *4.

     There are no other allegations occurring within the statute

of limitations. Accordingly, Count 7 is DISMISSED.


       F. Plaintiff’s Assault and Sexual Assault Claims – Counts
          9 and 15

     Defendants argue that many of Plaintiff’s allegations with

respect to assault and battery (Count 9) and sexual assault

(Count 15) are time-barred, that C.P.L.R. § 213-C does not

create an independent right of action, and that Plaintiff also

fails to state a claim for assault and battery and sexual

assault.

     C.P.L.R. § 213-C provides that “a civil claim or cause of

action to recover from a defendant” for injuries arising from

rape, aggravated sexual abuse, or sexual conduct against a

child, as defined in N.Y. Penal Law § 130, may be brought within

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five years. The statutory language suggests that a plaintiff can

bring a cause of action. Defendants cite no case law in support

of their proposition that § 213-C does not create an independent

cause of action. (Defs.’ MTD at 14.) The little case law citing

this section indicates that a plaintiff “may assert a civil

cause of action for the alleged crime under CPLR § 213–c.” Volpe

v. Paniccioli, 57 Misc. 3d 1219(A), 2017 WL 5574692, at *1 n.1

(N.Y. Sup. Ct. 2017).

     Defendants also argue that Plaintiff only sets forth two

specific instances of sexual assault occurring after August 10,

2010 (five years before the filing of this action) and that

those are not plausible. Defendants’ argument is conclusory. As

Defendants point out, Plaintiff sets forth multiple specific

allegations of rape or sexual assault: one in August 2011 (SAC ¶

162), several over the course of November 2012 (id. ¶ 179), and

in December 2013. (Id. ¶ 203.) Accordingly, Defendants’ Motion

to Dismiss is DENIED with respect to Count 15.

     With respect to Count 9, the statute of limitations for

assault and battery is one year. C.P.L.R. § 215(3). Plaintiff’s

Second Amended Complaint sets forth no allegations of assault

and battery occurring after August 2014. Thus, Count 9 is

DISMISSED.




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       G. Breach of Contract – Count 10

     Defendants next move to dismiss Count 10 for breach of

contract on the basis that Plaintiff never entered into a

contract with Shoshani in his personal capacity, that any breach

of contract claim against Zip or Shoshani is time barred, and

that she fails to state a claim for breach of contract against

Manhattan Helicopter.

     In New York, the statute of limitations for a breach of

contract claim is six years. C.P.L.R. § 213(2). Plaintiff argues

that she was employed by Zip for multiple one-year terms. (Pl.’s

Opp. at 14-15.) Under New York law, it is well established that,

“absent an agreement establishing a fixed duration, an

employment relationship is presumed to be a hiring at will,

terminable at any time by either party.” Goldman v. White Plains

Ctr. for Nursing Care, LLC, 11 N.Y.3d 173, 177 (N.Y. 2008)

(quoting Sabetay v. Sterling Drug, 69 N.Y.2d 329, 333 (N.Y.

1987)). However, “where one enters into the employ of another

under a contract for a year’s service at a yearly salary and

continues in the employment after the year’s end, there is

available an inference or implication of fact that the parties

intended to renew for another year.” Cinefot Int’l Corp. v.

Hudson Photographic Indus., 13 N.Y.2d 249, 252 (N.Y. 1963). This

presumption “can be rebutted by demonstrating that the parties

did not intend to allow a contract to renew automatically.”

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Goldman, 11 N.Y.3d at 177 (holding that contractual provision

stating that term would end after two years if the parties did

not agree upon an extension rebutted presumption of renewal). In

this case, Defendants do not set forward anything to rebut the

presumption that Plaintiff’s contract, beginning in November

2007, renewed annually.

     Under New York law, if “a contract requires continuing

performance over a period of time, each successive breach may

begin the statute of limitations running anew.” Guilbert v.

Gardner, 480 F.3d 140, 150 (2d Cir. 2007). In this case,

Plaintiff alleges a series of breaches of her employment

contract based on failure to pay her wages. She alleges that she

was employed by Zip under a series of one-year contracts,

beginning in November 2007 (SAC ¶ 32) and ending when her

employment with Manhattan Helicopters began in May 2013.

Plaintiff filed the instant case on August 10, 2015. Thus, her

allegations after August 10, 2009 with respect to breach of

contract can withstand the Motion to Dismiss.

     Defendants argue that Plaintiff does not allege that she

entered into an employment agreement with Shoshani in his

personal capacity. (Defs.’ MTD at 15.) The Second Amended

Complaint, however, says that Zip and Shoshani agreed that she

would be paid a salary of $150,000.000 and that she would resume



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work immediately. (SAC ¶ 32.) Plaintiff can thus proceed with

the breach of contract claim against Shoshani at this stage.

     Defendants also argue that Plaintiff’s claims against

Manhattan Helicopters are implausible— specifically that it’s

implausible Plaintiff would have voluntarily entered into an

employment agreement with Shoshani after enduring years of abuse

and non-payment. It is not the province of the Court to probe

into Plaintiff’s credibility 4 at this stage, and the Second

Amended Complaint adequately states a claim for breach of

contract at this stage.

     Lastly with respect to Plaintiff’s contract claim, the

Court notes that it may be duplicative of or preempted by her

statutory claims under the Fair Labor Standards Act (Count 17)

and New York Labor Law (Count 18). See Sosnowy v. A. Perri

Farms, Inc., 764 F. Supp. 2d 457, 467 (E.D.N.Y. 2011). At this

stage, however, Plaintiff may plead these claims in the

alternative. See Fed. R. Civ. P. 8(d)(2).

     Accordingly, Defendants’ Motion to Dismiss is DENIED with

respect to Count 10.




4 The Court notes, however, that victims of intimate partner
violence often make choices that seem irrational. See World
Health Organization, Understanding and addressing violence
against women, 12 (2012),
http://apps.who.int/iris/bitstream/10665/77432/1/WHO_RHR_12.36_e
ng.pdf.
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       H. Quantum Meruit and Unjust Enrichment – Counts 11 and
          12

     With respect to Plaintiff’s quasi-contract claims in Counts

11 and 12, Defendants argue that Plaintiff’s claims are time

barred, that she cannot bring quasi-contractual claims since she

has also brought a claim for breach of contract, and that she

fails to state a claim. Like contract claims, quasi-contract

claims are subject to a six-year statute of limitations. See

C.P.L.R. § 213(2). Thus, as with her contract claim, although

Plaintiff cannot rely on any allegations that occurred prior to

August 10, 2009, she has alleged numerous instances where

Defendants failed to compensate her for her services after that

date. (See SAC ¶¶ 104, 190-91, 211.)

     Although Defendants are correct that a plaintiff cannot

bring quasi-contractual claims where an express agreement covers

the dispute between the parties, Mid-Hudson Catskill Rural

Migrant Ministry, Inc. v. Fine Host Corp., 418 F.3d 168, 175 (2d

Cir. 2005), Plaintiff may plead these claims in the alternative

to her contract claim at this stage of the litigation. Knudsen

v. Quebecor Printing (U.S.A.) Inc., 792 F. Supp. 234, 237

(S.D.N.Y. 1992); Fed. R. Civ. P. 8(d)(2).

     To state a claim for quantum meruit under New York law, the

plaintiff must establish: “(1) the performance of services in

good faith, (2) the acceptance of the services by the person to


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whom they are rendered, (3) an expectation of compensation

therefor, and (4) the reasonable value of the services.” Mid-

Hudson Catskill Rural Migrant Ministry, 418 F.3d at 175 (quoting

Revson v. Cinque & Cinque, P.C., 221 F.3d 59, 69 (2d Cir.

2000)). Defendants argue that any expectation of compensation by

Plaintiff was unreasonable. Although expectation of compensation

might be per se unreasonable in certain circumstances, to probe

into whether Plaintiff’s expectation was reasonable would ask

this Court to assess her credibility when her Second Amended

Complaint adequately alleges expectation of compensation. This

is not appropriate in addressing a Motion to Dismiss.

     Defendants’ cited cases, including Tasini v. AOL, Inc., 851

F. Supp. 2d 734 (S.D.N.Y.), aff’d, 505 F. App’x 45 (2d Cir.

2012), are inapposite. In Tasini, Huffington Post contributors

sued alleging that the company profited from their unpaid

articles, but the Court held that “plaintiffs entered into their

transactions with the defendants with full knowledge of the

facts and no expectation of compensation other than exposure.”

Id. at 740. That is not the case here.

     To state a claim for unjust enrichment, a plaintiff must

show that (1) the defendant was enriched, (2) at the plaintiff’s

expense, and (3) that it is against equity and good conscience

to permit the defendant to retain what is sought to be

recovered. Mandarin Trading Ltd. v. Wildenstein, 16 N.Y.3d 173,

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182 (N.Y. 2011). Defendants do not make a separate argument as

to why Plaintiff’s unjust enrichment claim should be dismissed.

Thus, Defendant’s Motion to Dismiss is DENIED with respect to

Counts 11 and 12.


       I. Promissory Estoppel – Count 13

     Defendants argue that Plaintiff’s claim for promissory

estoppel (Count 13) is time barred because it is based on

promises made between late 2007 and early 2008, is duplicative

of her contract claim, is not a valid cause of action in the

employment context, and does not state a claim against Manhattan

Helicopters or Shoshani. (Defs.’ MTD at 18-20.)

     Although there is “no categorical rejection of promissory

estoppel in the employment context,” “several courts within the

Second Circuit have held that ‘New York does not recognize

promissory estoppel as a valid cause of action in the employment

context.’” Baguer v. Spanish Broad. Sys., Inc., No. 04-CV-8393

(KMK), 2007 WL 2780390, at *5 (S.D.N.Y. Sept. 20, 2007) (quoting

Fontana v. Potter, No. 01 CV 7002 SLT RML, 2005 WL 2039194, at

*7 (E.D.N.Y. Aug. 24, 2005)). The Court adopts that approach

here as there is no promise that arises separate from

Plaintiff’s alleged employment relationship with Defendants.

Accordingly, Count 13 is DISMISSED.




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       J. Intentional Infliction of Emotional Distress – Count
          14

     Defendants next argue that Plaintiff’s claim for

intentional infliction of emotional distress (“IIED,” Count 14)

should be dismissed because it is time barred and because it is

duplicative of her tort claims for assault and battery.

     To state a claim for IIED, “the conduct alleged must be so

outrageous in character and extreme in degree as to surpass the

limits of decency so ‘as to be regarded as atrocious and

intolerable in a civilized society.’” Leonard v. Reinhardt, 799

N.Y.S.2d 118, 119 (N.Y. App. Div. 2d Dep’t 2005) (quoting

Freihofer v. Hearst Corp., 65 N.Y.2d 135, 143 (N.Y. 1985)).

     The statute of limitations for IIED claims is one year.

C.P.L.R. § 215(3). Although some New York courts have held that

IIED is not subject to the continuing violations exception, see

Foley v. Mobil Chem. Co., 626 N.Y.S.2d 906, 907 (N.Y. App. Div.

4th Dep’t 1995), others have held that it is. See Estreicher v.

Oner, 49 N.Y.S.3d 530, 532 (N.Y. App. Div. 2d Dep’t 2017);

Mariani v. Consol. Edison Co. of N.Y., 982 F. Supp. 267, 273

(S.D.N.Y. 1997), aff’d, 172 F.3d 38 (2d Cir. 1998). The Court

holds that it is appropriate to apply the exception here, where

Shoshani’s conduct involved a longstanding campaign of

harassment and intimidation “so long as the final actionable

event occurred within one year of the suit.” Estreicher, 148 49


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N.Y.S.3d at 532; see Allam v. Meyers, No. 09 CIV. 10580 KMW,

2011 WL 721648, at *6 (S.D.N.Y. Feb. 24, 2011) (describing ways

that a “deliberate and malicious campaign of harassment or

intimidation” satisfies the requirement that conduct be extreme

and outrageous to constitute IIED).

     In this case, in February 2015, Shoshani allegedly showed

up at a restaurant where Plaintiff was and showed her he was

carrying a gun. (SAC ¶¶ 231-33.) In June 2015, he allegedly

violated an order of protection Plaintiff had against him and

hacked into her phone. (Id. ¶¶ 235-36.) These allegations, which

occurred within the year before Plaintiff filed suit, are

sufficient to withstand Defendants’ Motion to Dismiss. See Eves

v. Ray, 42 A.D.3d 481, 483 (N.Y. App. Div. 2d Dep’t 2007)

(sustaining IIED verdict where counter-claim defendant

threatened claimant physically and financially, stalked him, and

continued such behavior despite fact that claimant had obtained

a temporary order of protection).

     Courts applying New York law “held that the tort of

intentional infliction of emotional distress may not be used as

a substitute for an available traditional tort theory.”

Caravalho v. City of New York, No. 13-CV-4174 (PKC)(MHD), 2016

WL 1274575, at *23 (S.D.N.Y. Mar. 31, 2016), reconsideration

denied, 2016 WL 4154273 (S.D.N.Y. July 29, 2016) (quoting

Brewton v. City of New York, 550 F. Supp. 2d 355, 370 (E.D.N.Y.

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2008)), appeal docketed, No. 17-1944 (2d Cir. June 16, 2017);

see Fischer v. Maloney, 43 N.Y.2d 553, 557–58, (N.Y. 1978). In

other words, where a plaintiff can recover based on assault and

battery claims, she cannot also recover pursuant to an IIED

claim based on the same conduct. See Caravalho, 2016 WL 1274575,

at *23.

     Plaintiff has set forward additional allegations, occurring

more than one year before August 2015 but that were part of the

same campaign of harassment and intimidation, that are not

duplicative of her assault claims. For example, Shoshani

purportedly kept her in harsh living conditions without a bed,

enough food to eat, or basic hygiene products (SAC ¶¶ 102, 128-

29); stalked her through her iPhone and a GPS tracker on her car

(id. ¶¶ 131-32, 161, 165-66); threatened to distribute naked

pictures and a sexually explicit video of her if she did not

comply with his demands (id. ¶¶ 172, 175-76). See Eves, 42

A.D.3d at 483.

     Accordingly, Defendants’ Motion to Dismiss Count 14 is

DENIED.


          K. Victims of Gender Motivated Violence Protection Act –
             Count 16

     The Victims of Gender Motivated Violence Protection Act

provides a cause of action based on crimes of violence motivated

by gender, defined as “a crime of violence committed because of

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gender or on the basis of gender, and due, at least in part, to

an animus based on the victim’s gender.” N.Y.C. Admin. Code § 8-

901-05. Defendants argue that Plaintiff does not allege that any

of the incidents in the Second Amended Complaint were motivated

by gender.

     In this case, Plaintiff is a woman who was allegedly

sexually assaulted, assaulted, and otherwise abused by

Defendant, a man. 5 See supra pp. 25-26. For example, in July

2011, 6 Shoshani called Plaintiff a “whore,” a “little bitch,” and

a “worthless bitch” while grabbing her by the throat and

physically dragging her to the door of the apartment and

throwing her outside. (SAC ¶ 147.) Shoshani’s use of gendered

terms while assaulting Plaintiff is sufficient to create an

inference that he committed the assault, at least in part,

because of his animus towards women. See N.Y.C. Admin. Code § 8-


5 An estimated one in five women will be raped at some point
during her lifetime, and 91% of victims of rape and sexual
assault are women. National Sexual Violence Resource Center,
Statistics about Sexual Assault (2015),
https://www.nsvrc.org/sites/default/files/2015-
01/publications_nsvrc_factsheet_media-packet_statistics-about-
sexual-violence_0.pdf. Roughly 98% of women report being raped
by male perpetrators. Centers for Disease Control and
Prevention, The National Intimate Partner and Sexual Violence
Survey: 2010 Summary Report, at 24 (2010),
https://www.cdc.gov/violenceprevention/pdf/nisvs_report2010-
a.pdf.
6 The statute of limitations for the Gender Motivated Violence
Protection Act is seven years. N.Y.C. Admin. Code § 8-905.

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903(b); William C. Donnino, Practice Commentary, N.Y. Penal Law

§ 485.05 (McKinney) (“Thus, for example, in the commission of a

first-degree assault, that the defendant and the victim are of

different races is not, alone, sufficient to prove a “hate

crime”; but, that fact plus the defendant’s words during the

assault to the effect that the assault is taking place because

of the victim’s race would constitute evidence of a ‘hate

crime.’”) 7; Whore, Merriam-Webster (Feb. 28, 2018),

https://www.merriam-webster.com/dictionary/whore (including “a

woman who engages in sexual acts for money : PROSTITUTE; also,

informal + offensive : a promiscuous or immoral woman” among

definitions for “whore”); Bitch, Merriam-Webster,

https://www.merriam-webster.com/dictionary/bitch (“often

offensive : a malicious, spiteful, or overbearing woman —

sometimes used as a generalized term of abuse” among definitions

for “bitch”).




7 The Practice Commentary is cited with approval in People v.
Spratley, 59 N.Y.S.3d 495, 497 (N.Y. App. Div. 3d Dep’t 2017).
While New York State’s Hate Crimes statute is not identical to
the Gender Motivated Violence Protection Act, the Court finds
the analogy helpful, given the lack of case law addressing the
statute at issue here. Under the Gender Motivated Violence
Protection Act, however, the motive for the crime of violence
need only be proven by a preponderance of the evidence. N.Y.C.
Admin. Code § 8-906.
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     Plaintiff has thus adequately alleged gender-motivated

violence at this stage of the litigation. 8 Defendants’ Motion to

Dismiss is thus DENIED with respect to Count 16.


       L. Fair Labor Standards Act and New York State Labor Law
          – Counts 17 and 18

     Defendants next move to dismiss Plaintiff’s claim for

violations of the Fair Labor Standards Act (“FLSA”) and New York

State Labor Law (“NYLL”), arguing that her claims are time

barred, that they are duplicative of her contract claims, and

that she fails to state a claim.

     The statute of limitations for FLSA claims is two years

from “when the plaintiff knows or has to reason know of the

injury that is the basis for his claim, which occurs at the time

the employee was or should have been paid” or three years in the

case of a willful violation. Chen v. Yuen, No. 04-CV-06579

(GBD)(KNF), 2015 WL 7758532, at *2 (S.D.N.Y. Dec. 1, 2015)

8 The Court acknowledges that there is scant case law addressing
the Victims of Gender Motivated Violence Protection Act.
However, Defendants’ suggestion that cases like Cordero v.
Epstein, 869 N.Y.S.2d 725, 731 (N.Y. Cty. Sup. Ct. 2008),
represent “controlling precedent” ignores basic principles of
what law is binding on this Court. Defendants also cite Adams v.
Jenkins, 115745/2003, 2005 WL 6584554, slip op. at 8 (N.Y. Cty.
Sup. Ct. Apr. 22, 2005), which was decided on summary judgment.
The Court also acknowledges Cartright v. Lodge, No. 15-CV-9939
(KMW)(RLE), 2017 WL 1194241, at *9 (S.D.N.Y. Mar. 30, 2017),
which involved a denial of attorney’s fees under the Act on
default judgment. Looking at the complaint there, that case can
be easily factually distinguished. It did not involve sexual
assault and primarily relied on the defendant’s reputation as a
misogynist.
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(noting that continuing violation theory does not apply to FLSA

claims); 29 U.S.C. § 255(a). A violation is willful when “the

employer either knew or showed reckless disregard for the matter

of whether its conduct was prohibited by the statute.”

McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133 (1988).

Willfulness is typically a question of fact. See Hart v. Rick’s

Cabaret Int’l, Inc., 967 F. Supp. 2d 901, 937 (S.D.N.Y. 2013).

     At this stage, Plaintiff has alleged adequate facts to

assert that Defendants’ violations of FLSA were willful, as she

alleges that she was not paid by Defendants at all. (See, e.g.,

SAC ¶ 192.) 9 To the extent the violations were willful, all

allegations occurring before August 10, 2012 are time barred.

Plaintiff can proceed with her FLSA claim within those time

constraints.

     The statute of limitations for New York Labor Law (“NYLL”

claims is six years. N.Y. Lab. Law § 663(3). Plaintiff can thus

pursue claims under NYLL insofar as she relies on allegations

occurring after August 10, 2009.

     Plaintiff has stated a claim under both FLSA and NYLL as

she has set forth allegations that she was not paid for her

labor at all while employed at Zip and Manhattan Helicopter.

(See, e.g., SAC ¶ 192.)


9 The facts as alleged, if true, would violate more than FLSA.
The Thirteenth Amendment comes to mind.
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      While Plaintiff’s labor law claims in Counts 17 and 18 may

be duplicative of her contract claims, she can plead in the

alternative at this stage. Supra p. 29.

      Defendants’ Motion to Dismiss Counts 17 and 18 is thus

DENIED, subject to the time limitations set forth above.


        M. Fraud – Count 19

      Defendants argue that Plaintiff fails to plead her fraud

claim with specificity and that it is duplicative of her breach

of contract claim. (Defs.’ MTD at 23-24.) Plaintiff cites

various statements by Shoshani that he would pay her and that he

would help her obtain citizenship. (Pl.’s Opp. at 24, 25 n.91.)

All of the statements cited by Plaintiff occurred outside of the

statute of limitations, which is six years for fraud claims. See

C.P.L.R. § 213(8).

      Other statements occurring within the statute of

limitations period are either not specifically pleaded (see,

e.g., SAC ¶¶ 110, 138, 186) or are based on terms set forth in a

contract (see, e.g., SAC ¶¶ 193-94). See Wild Bunch, SA v.

Vendian Entm’t, LLC, 256 F. Supp. 3d 497, 503 (S.D.N.Y. 2017).

Accordingly, Plaintiff’s fraud claim (Count 19) is DISMISSED.


        N. Leave to Amend

      In summary, the following Counts remain:

  •   Count 1: sex discrimination under NYSHRL

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  •   Count 4: sex discrimination under NYCHRL
  •   Count 8: employer liability for discriminatory conduct
      under NYCHRL
  •   Count 10: breach of contract
  •   Count 11: quantum meruit
  •   Count 12: unjust enrichment
  •   Count 14: intentional infliction of emotional distress
  •   Count 15: rape/sexual abuse (against Shoshani)
  •   Count 16: violation of the Gender Motivated Violence
      Protection Act (against Shoshani)
  •   Count 17: violation of Fair Labor Standards Act
  •   Count 18: violation of New York Labor Law



The Court has dismissed the following Counts:

  •   Count 2: aiding and abetting sex discrimination under
      NYSHRL
  •   Count 3: retaliation under NYSHRL
  •   Count 5: retaliation under NYCHRL
  •   Count 6: aiding and abetting sex discrimination under
      NYCHRL
  •   Count 7: interference with protected rights under NYCHRL
  •   Count 9: assault and battery
  •   Count 13: promissory estoppel
  •   Count 19: fraud and misrepresentation

      The remaining question is whether Plaintiff shall be given

leave to replead with respect to any of the dismissed claims.

When a complaint has been dismissed, “[t]he court should freely

give leave [to amend] when justice so requires.” Fed. R. Civ. P.

15(a). However, a court may dismiss without leave to amend when

amendment would be “futile,” or would not survive a motion to

dismiss. Hutchison v. Deutsche Bank Sec. Inc., 647 F.3d 479, 491

(2d Cir. 2011).



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     Because Plaintiff can proceed with her sex discrimination

claims against Shoshani as an individual, it is unnecessary for

her to amend Counts 2 and 6 for aiding and abetting sex

discrimination. It would be futile for her to amend her

retaliation claims (Counts 3 and 5), interference with protected

rights claim (Count 7), and assault and battery claims (Count 9)

as they are time barred. Moreover, Plaintiff has already amended

her Complaint twice and has had ample opportunity to cure its

defects, so justice does not require that she be given leave to

amend these claims. She cannot amend her promissory estoppel

claim (Count 13) because such claims are not permitted in the

employment context. Finally, Plaintiff’s fraud claim is largely

time barred and is duplicative of her contract claims, making

amendment futile. To the extent Shoshani made fraudulent

statements within the statute of limitations, Plaintiff has

already had ample opportunity to amend but has failed to do so.

Accordingly, leave to amend is DENIED with respect to all

dismissed counts.




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III.   CONCLUSION

       For the foregoing reasons, Defendants’ Motion to Dismiss is

 GRANTED in part and DENIED in part. Defendants are to answer the

 remaining Counts within 30 days of the date of this Memorandum &

 Order.


                                               SO ORDERED.


 DATED:     New York, NY
            March 26, 2018




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